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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                 :
Fallon Antone,                                   :
                                                 :
                      Plaintiff,                 :
       v.                                        :
                                                   Civil Action No.: 1:13-cv-10096-RWZ
                                                 :
Southwest Credit Systems, L.P.; and              :
DOES 1-10, inclusive,                            :
                                                 :
                      Defendants.                :
                                                 :

                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: March 26, 2013

                                                  Respectfully submitted,

                                                  PLAINTIFF, Fallon Antone

                                                  /s/ Sergei Lemberg

                                                  Sergei Lemberg, Esq.
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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 26, 2013, a true and correct copy of the foregoing Notice
of Settlement was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF) and that the document is available on
the ECF system.

                                             By_/s/ Sergei Lemberg________
                                                    Sergei Lemberg
